FREDERICK H. NASH, PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Nash v. CommissionerDocket No. 14941.United States Board of Tax Appeals22 B.T.A. 482; 1931 BTA LEXIS 2116; February 28, 1931, Promulgated *2116  The loss resulting from damage to petitioner's trees caused by a sleet and ice storm in 1921 held deductible under the provisions of of section 214(a)(6) of the Revenue Act of 1921, and the amount of the loss determined.  James Garfield, Esq., and Edmund S. Kochersperger, Esq., for the petitioner.  Bruce A. Low, Esq., for the respondent.  SMITH *482  In his income tax return for 1921 the petitioner claimed a deduction of $4,880 representing a loss resulting from the damage caused by storm to trees on his country estate.  The deficiency herein, amounting to $1,210.47, is due entirely to the disallowance by the respondent of the deduction claimed.  FINDINGS OF FACT.  The petitioner is a resident of Weston, Mass.  In 1918 he acquired a residential site comprising a tract of 5 1/2 acres situated on the State road about 11 miles from Boston.  There were on the premises at that time a large frame dwelling house and a barn.  The petitioner selected this location as a desirable one for a permanent country home.  Its most attractive feature was a generous growth of shade trees covering almost the entire tract.  The trees were mostly of the common*2117  varieties, such as maple, elm, birch, and others native to that region.  They were of varying sizes and ages and for the most part were symmetrically formed.  The beauty of the trees was the deciding factor in the petitioner's selection of the home site.  The petitioner remodeled the dwelling house, converted the barn into a servants' cottage, and made other extensive improvements in the grounds.  The cost of the improvements was approximately $34,000.  The original cost of the property to the petitioner was $18,000.  In the latter part of 1921, an ice and sleet storm of great severity visited the vicinity of petitioner's home, causing considerable damage to petitioner's trees and grounds.  Many large branches were torn from the trees and in some instances the trunks themselves were broken or the trees uprooted.  Many of the trees were permanently disfigured.  A large quantity of cord wood was salvaged from the fallen debris.  The petitioner was put to considerable expense to repair the damage, with only partial success.  As a result of the *483  storm the desirability of petitioner's property as a home site and its sale value were materially lessened.  Expressed in terms*2118  of money value, the petitioner's property was damaged by the storm to the extent of not less than $5,000.  OPINION.  SMITH: The respondent does not seriously dispute the above facts, but he does contend that the damage occasioned by the storm to the petitioner's property is not such a loss as is deductible in computing income tax, and, further, that the petitioner has not proven in terms of dollars and cents the amount of the loss sustained.  Answer to the first objection is found in ; ; and , where deductions were allowed for identical losses under the provisions of section 214(a)(6) of the Revenue Act of 1921.  The petitioner in his testimony admitted his difficulty in forming an accurate estimate of the loss in terms of dollars and cents, but he gave it as his opinion that the loss was certainly not less than $5,000, or approximately one-tenth of the value of the entire property, and his opinion was amply supported by the testimony of a real estate dealer who was familiar with all the circumstances and who fixed this amount*2119  as a conservative estimate of petitioner's actual loss.  The evidence convinces us that the petitioner sustained a loss of not less than $5,000. Judgment will be entered under Rule 50.